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 3
 4
 5                      UNITED STATES DISTRICT COURT
 6                     EASTERN DISTRICT OF CALIFORNIA
 7
                                      )       1:04-cv-06490        OWW JLD
 8   MICHAEL NEVEAU,                  )
                                      )       SECOND AMENDED
 9                  Plaintiff,        )       MEMORANDUM DECISION AND
                                      )       ORDER RE DEFENDANTS’
10        v.                          )
                                      )       (1) MOTION TO DISMISS
11   CITY OF FRESNO, a municipality; )        PURSUANT TO FED. R. CIV. P.
     JERRY DYER, individually;        )       12(b)(6);
12   MICHAEL GUTHRIE, individually;   )
     GREG GARNER, individually;       )       (2) MOTION FOR A MORE
13   DARREL FIFIELD, individually;    )       DEFINITE STATEMENT PURSUANT
     MARTY WEST, individually;        )       TO FED. R. CIV. P. 12(e);
14   ROGER ENMARK, individually; and )        AND
     DOES 1 through 10,               )
15                                    )       (3) MOTION TO STRIKE
                                      )       PORTIONS OF THE SECOND
16                  Defendants.       )       AMENDED COMPLAINT PURSUANT
                                      )       TO FED. R. CIV. P. 12(f).
17   ________________________________ )
18
19
20
                              I.    INTRODUCTION
21
          This is a civil rights action by a City of Fresno police
22
     officer against the City of Fresno and several individual members
23
     of the City of Fresno Police Department.      Michael Neveu
24
     (“Plaintiff”) brings a civil rights claim under 42 U.S.C. § 1983
25
     and under two California state “whistleblower” statutes.
26
     Defendants CITY OF FRESNO, JERRY DYER, MICHAEL GUTHRIE, GREG
27
     GARNER, DARREL FIFIELD, MARTY WEST, and ROGER ENMARK
28

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 1   (“Defendants”) move to dismiss Plaintiff’s Third Amended
 2   Complaint.   (Doc. 41 Defs.’ Mot.; Doc. 42, Defs.’ Mem.)
 3   Plaintiff opposes the motion.      (Doc. 47, Pl.’s Opp.)
 4
 5                        II.       PROCEDURAL HISTORY
 6        Plaintiff filed his original complaint on November 1, 2004.
 7   (Doc. 1, Compl.)   Plaintiff filed the operative Third Amended
 8   Complaint on July 25, 2005.      (Doc. 39, Third Am. Compl.)
 9   Plaintiff’s Third Amended Complaint contains three claims, all
10   which arise out of Plaintiff’s complaint that Defendants
11   retaliated against him for having reported sexual misconduct,
12   racial harassment, and cheating on police department promotional
13   exams: (1) 42 U.S.C. § 1983 (first amendment retaliation);
14   (2) Cal. Labor Code § 1102.5 (whistleblower retaliation); and
15   (3) Cal. Gov. Code § 53298 (whistleblower retaliation).
16   Defendants seek to dismiss various claims and to strike
17   allegations contained in the Third Amended Complaint.           (Doc. 42,
18   Defs.’ Mem.)   Plaintiff filed opposition on September 16, 2005.
19   (Doc. 47, Pl.’s Opp.)   Defendants replied on September 26, 2005.
20   (Doc. 48, Defs.’ Reply)
21        Oral argument was heard on October 3, 2005.          Michael A.
22   Morguess, Esq., appeared on behalf of Plaintiff.          Joseph D.
23   Rubin, Esq., appeared on behalf of Defendants.
24
25                       III.   SUMMARY OF PLEADINGS
26        This civil rights action is brought by a Fresno City police
27   officer against the City of Fresno, the Fresno Police Chief, and
28   five individual Fresno City Police officers.         Plaintiff brings

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 1   his § 1983 claim based on an alleged violation of his first
 2   amendment right to freedom of expression.       Plaintiff claims he
 3   was retaliated against for reporting to his superiors a number of
 4   incidents of sexual harassment, racial discrimination, and
 5   cheating on police department exams.     The allegations in the
 6   complaint are taken as true for the purpose of this motion to
 7   dismiss.
 8        Plaintiff alleges two adverse employment actions.           First,
 9   from June 1997 through December 2002, Defendants WEST, FIFIELD,
10   GUTHRIE, and GARNER failed to promote him despite his high
11   qualifications and performance.     Second, in March 2004,
12   Defendants DYER, ENMARK, and GUTHRIE placed Plaintiff on
13   administrative leave and required Plaintiff to undergo
14   psychological examinations to determine his fitness for duty.
15   Despite the recommendations of three psychologists that he was
16   fit for duty, Defendants refused to reinstate him to duty in July
17   2004.1
18        Plaintiff claims he was retaliated against for four
19   allegedly protected first amendment activities.         These
20   allegations are addressed in greater detail in the July 2005
21   order granting in part Defendants’ motion to dismiss.           (Doc. 35,
22   “July 2005 Order”)    First, Plaintiff reported alleged sexual
23   misconduct by Richard Mata, a suspended police department
24   official who was under investigation for improper sexual behavior
25   towards a minor.    Plaintiff alleges that Internal Affairs asked
26   Plaintiff to report to their office in writing any information he
27
28        1
              Plaintiff has since been reinstated to duty.

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 1   obtained regarding Mata.       WEST instructed Plaintiff not to put
 2   any information regarding Mata in writing or report any
 3   information to Internal Affairs.         Instead, WEST instructed
 4   Plaintiff to report such information verbally to his chain of
 5   command.   Second, Plaintiff alleges that he reported to his
 6   immediate supervisors in writing racial discrimination against
 7   Southeast Asian police officers.         Third, Plaintiff submitted an
 8   end-of-the year report involving the “banking” of overtime hours.
 9   Fourth, Plaintiff testified at an administrative hearing
10   regarding cheating on police promotional exams.
11        Plaintiff’s complaint also contains allegations regarding
12   the CITY’s “policies, customs, practices and decisions” regarding
13   promotions and administrative leave (“employment policies”).
14   (Id. at ¶ 54)    Plaintiff alleges that Chief DYER had policy-
15   making authority over the employment policies and that “DYER used
16   the...FRESNO policies in retaliatory fashion to deprive NEVEU of
17   his rights as specifically alleged.”         (Id.)
18
19                            IV.     LEGAL STANDARD
20        Fed. R. Civ. P. 12(b)(6) allows a defendant to attack a
21   complaint for failure to state a claim upon which relief can be
22   granted.   A motion to dismiss under Fed. R. Civ. P. 12(b)(6) is
23   disfavored and rarely granted: “[a] complaint should not be
24   dismissed unless it appears beyond doubt that plaintiff can prove
25   no set of facts in support of his claim which would entitle him
26   to relief.”     Van Buskirk v. CNN, Inc., 284 F.3d 977, 980
27   (9th Cir. 2002) (citations omitted).         In deciding whether to
28   grant a motion to dismiss, the court “accept[s] all factual

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 1   allegations of the complaint as true and draw[s] all reasonable
 2   inferences in favor of the nonmoving party.”          TwoRivers v. Lewis,
 3   174 F.3d 987, 991 (9th Cir. 1999).
 4        “The court need not, however, accept as true allegations
 5   that contradict matters properly subject to judicial notice or by
 6   exhibit.    Nor is the court required to accept as true allegations
 7   that are merely conclusory, unwarranted deductions of fact, or
 8   unreasonable inferences.”      Sprewell v. Golden State Warriors,
 9   266 F.3d 979, 988 (9th Cir. 2001) (citations omitted).             For
10   example, matters of public record may be considered under Fed. R.
11   Civ. P. 201, including pleadings, orders and other papers filed
12   with the court or records of administrative bodies.             See Lee v.
13   City of Los Angeles, 250 F.3d 668, 688 (9th Cir. 2001).
14   Conclusions of law, conclusory allegations, unreasonable
15   inferences, or unwarranted deductions of fact need not be
16   accepted.   See Western Mining Council v. Watt, 643 F.2d 618, 624
17   (9th Cir. 1981).
18
19                               V.     ANALYSIS
20
21        A.     Whether Plaintiff States a Monell Claim Against the
                 CITY Under § 1983.
22
          Defendants argue that Plaintiff’s § 1983 claim against the
23
     CITY should be dismissed because Plaintiff’s factual allegations
24
     are insufficient to support Monell liability under § 1983.
25
          Under the Supreme Court’s decision in Monell v. Dep’t of
26
     Soc. Svcs. of City of New York, 436 U.S. 658, 694 (1978), a local
27
     government is liable under § 1983 for its policies that cause
28

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 1   constitutional torts.     See also McMillian v. Monroe County, 520
 2   U.S. 781, 785 (1997).   A suit against a local official in his
 3   “official capacity” is the same as a suit against the local
 4   governmental entity itself.     Id. at 785 n. 2; Doe v. Lawrence
 5   Livermore Nat’l Lab., 131 F.3d 836, 839 (9th Cir. 1997) (“a suit
 6   against a state official in his official capacity is no different
 7   from a suit against the [official’s office or the] State itself”
 8   (citing Will v. Mich. Dep’t of State Police, 491 U.S. 58, 70-71
 9   (1989))); Ruvalcaba v. City of Los Angeles, 167 F.3d 514, 524 n.3
10   (9th Cir. 1999).
11        A litigant can establish a Monell claim in one of three
12   ways:   “(1) by showing a longstanding practice or custom which
13   constitutes the standard procedure of the local governmental
14   entity; (2) by showing that the decision-making official was, as
15   a matter of state law, a final policymaking authority whose
16   edicts or acts may fairly be said to represent official policy in
17   the area of decision; or (3) by showing that an official with
18   final policymaking authority either delegated that authority to,
19   or ratified the decision of, a subordinate.”        Menotti v. City of
20   Seattle, 409 F.3d 1113, 1147 (9th Cir. 2005) (internal quotations
21   omitted) (quoting Ulrich v. City and County of San Francisco, 308
22   F.3d 968, 985-86 (9th Cir. 2002)).
23        As an initial matter, Plaintiff’s allegations against Chief
24   DYER and his allegations regarding the CITY’s policies, customs,
25   and/or practices are confusing.     Paragraph 54 of Plaintiff’s
26   complaint alleges that:
27              Chief DYER’S actions, as alleged herein, were
                taken as an official policy maker, and with
28              the accompanying authority to which DEFENDANT

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 1             FRESNO delegated its governing powers in the
               subject matter areas in which these policies
 2             were promulgated or decisions taken or
               customs and practices followed. The acts and
 3             omissions of DEFENDANT DYER, as alleged
               herein, manifested or conformed to official
 4             policies, customs, practices, or decisions of
               DEFENDANT FRESNO, in that FRESNO delegated to
 5             DYER its policy making authority in all
               matters of employment relations within the
 6             DEPARTMENT, and/or DEFENDANT FRESNO, with
               knowledge of the afore said [sic] policies,
 7             customs, practices and decisions of DEFENDANT
               DYER, approved, ratified and adopted said
 8             policies, customs, practices and decisions.
               More specifically, DYER, as the Chief of
 9             Police, has final official policy making
               authority with respect to promotions within
10             the Police Department, as well as placing
               officers on administrative leave and
11             subjecting them to a fitness for duty
               examination. Moreover, DEFENDANT DYER acted
12             pursuant to FRESNO’s policies on promotions
               as well as FRESNO’s policy in placing
13             employees on administrative leave pending a
               fitness for duty examination, to which
14             DEFENDANT DYER was delegated final official
               policy making authority over. In doing the
15             things it is alleged DEFENDANT DYER has done,
               DEFENDANT DYER used the aforementioned FRESNO
16             policies in retaliatory fashion to deprive
               NEVEAU of his rights as specifically alleged.
17
     (Doc. 37, Third Am. Compl. ¶ 54)       It is not clear, based upon
18
     these allegations, whether Plaintiff attempts to allege a claim
19
     against the CITY for “a longstanding practice or custom” that led
20
     to the alleged violation of Plaintiff’s constitutional rights, or
21
     whether Plaintiff attempts instead to allege a Monell claim
22
     through one of the other two means, i.e., the constitutional
23
     violation was caused by the act of an official with final
24
     policymaking authority or by the ratification of unconstitutional
25
     conduct of subordinates by an official with final policymaking
26
     authority.   Liberally construed, Plaintiff’s allegations appear
27
     to be an attempt to allege a Monell claim in all three ways.
28

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 1        As to the first variation of a Monell claim, Defendant
 2   argues that Plaintiff has failed to allege facts supporting the
 3   existence of a policy.   Plaintiff’s response is that he does
 4   allege the existence of a policy, referring to the allegations
 5   “in paragraph 54 of the Third Amended Complaint that Fresno
 6   maintained policies on promotions as well as placing individuals
 7   on administrative leave.”      (Doc. 47, Pl.’s Mem. 5)
 8        However, alleging that the CITY maintained official
 9   employment policies is not a sufficient basis on which Monell
10   liability can be established.      Plaintiff does not describe what
11   these specific policies are (such as denying promotions to
12   officers who speak out), or how they were used to deprive
13   Plaintiff of his constitutional rights.        Plaintiff’s Monell
14   claim against FRESNO in his Second Amended Complaint was
15   dismissed for the same deficiency.      (Doc. 35, July 2005 Order 30)
16        However, it can be inferred from Plaintiff’s allegations
17   that he attempts to plead the existence of a custom or practice
18   of retaliation (i.e., one that is different from the CITY’s
19   official employment policies).      Although Plaintiff does not make
20   this argument, such an attempt can be inferred from his
21   allegation that defendants WEST, FIFIELD, GUTHRIE, and GARNER
22   purposefully prevented Plaintiff from being promoted and that
23   they “had done similar ‘black listing’ to other officers who
24   spoke up.”   (Doc. 37, Third Am. Compl. ¶ 43)        One isolated
25   reference to blacklisting is not sufficient; however, the claim
26   that other officers had been “blacklisted” for speaking out,
27   although general, is adequate to put defendants on notice of
28   Plaintiff’s claim that blacklisting was a custom or policy of the

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 1   police department.
 2        Plaintiff’s complaint also contains various other factual
 3   allegations that could be construed as constituting a custom or
 4   practice.    For example, the complaint alleges:
 5        (1)    After Plaintiff informed Captain WEST that he was
 6               going to report all sexual allegations or
 7               improprieties in writing to Internal Affairs, WEST
 8               told Plaintiff that “if [Plaintiff] wanted ‘to
 9               play it that way,’ and ‘not be a team player’ with
10               them, that was his choice but there would be
11               consequences.”   (Doc. 37, Third Am. Compl. ¶ 28)
12               The complaint does not describe what the
13               “consequences” are and does not allege that the
14               consequences were part of a custom or practice.
15
16        (2)    Sergeant Montejano advised Plaintiff that “he
17               should not have documented the racial harassment
18               because it caused staff at the Police Activity
19               League to become upset, including retired Deputy
20               Chief Lee Piscola, and that ‘pissing off a retired
21               Chief is a bad career move.’”    (Id. at ¶ 29)
22               Again, there is no further explanation as to
23               Retired Chief Piscola’s involvement in or
24               relationship to the purported retaliation against
25               Plaintiff.   There is no allegation connecting
26               Sergeant Montejano’s comment to any purported
27               custom or practice.
28

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 1        (3)     Chief DYER stated publicly “that he wanted control
 2                over who was promoted” and subsequently introduced
 3                a “practical phase” to the promotions process.
 4                Plaintiff alleges that the “practical phase”
 5                included giving the answers to promotional exams
 6                to those sergeants whom Chief DYER wanted
 7                promoted.    (Id. at ¶¶ 32, 33)    Plaintiff further
 8                alleges the complaints of other candidates
 9                regarding this practice led to a hearing before
10                the Civil Service Commission at which Plaintiff
11                testified.   The defendants are required to draw
12                the inference that such cheating on the
13                promotional exams was part of the Chief’s alleged
14                custom or practice in failing to promote Plaintiff
15                and others who were considered undesirable.
16
17        Neither the Defendants nor the court should be required to
18   guess or add allegations to divine the substance of the policy,
19   custom, or practice that forms the basis of Plaintiff’s Monell
20   claim.     Nevertheless, general notice pleading under Rule 8(a)
21   requires only a short and plain statement of the facts and a
22   claim should not be dismissed if it will permit Defendants to
23   adequately respond to the allegations against them.
24        Plaintiff’s allegation concerning blacklisting and
25   promotional preferences satisfies the minimal pleading standards.
26        Plaintiff’s complaint also sufficiently alleges a municipal
27   liability claim against DYER under the second variation by which
28   a Monell claim can be alleged, i.e., based on a single decision

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 1   by an official with final policymaking authority.             A litigant can
 2   establish a Monell claim based upon a single action by a
 3   decision-making official with final policymaking authority,
 4   Pembaur v. City of Cincinnati, 475 U.S. 469, 482-83 (1986).
 5   Plaintiff’s allegations relating to DYER’s final policy-making
 6   authority include the following circular sentence:
 7             The acts and omissions of DEFENDANT DYER, as
               alleged herein, manifested or conformed to
 8             official policies, customs, practices, or
               decisions of DEFENDANT FRESNO, in that FRESNO
 9             delegated to DYER its policy making authority
               in all matters of employment relations within
10             the DEPARTMENT, and/or DEFENDANT FRESNO, with
               knowledge of the afore said [sic] policies,
11             customs, practices and decisions of DEFENDANT
               DYER, approved, ratified, and adopted said
12             policies, customs, practices and decisions.
13   (Doc. 37, Third Am. Compl. ¶ 54) In can be inferred from this
14   allegation that Plaintiff was deprived of his first amendment
15   constitutional rights by DYER’s alleged discriminatory placement
16   of Plaintiff on administrative leave, which became the CITY’s
17   policy because it was implemented by a department head with
18   policy-making authority.      Plaintiff alleges that two officers in
19   addition to DYER are responsible for having placed Plaintiff on
20   administrative leave, including ENMARK (the deputy chief) and
21   GUTHRIE (a lieutenant).    (Doc. 37, Third Am. Compl. ¶ 45)
22   Although this allegation is inartfully crafted, it does satisfy
23   the second variation of Monell.      See Pembaur, 475 U.S. at 482-83.
24   The decision to place Plaintiff on administrative leave was made
25   by an official with final policy-making authority.            No more is
26   required at the motion to dismiss stage.
27        Plaintiff also argues that he states a Monell claim under
28   the third variation, i.e., based on delegation of authority.               The

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 1   third variation of a Monell claim involves the situation where
 2   final decision-making authority was delegated to subordinates.
 3   See Menotti, 409 F.3d at 1147.    Plaintiff alleges that the CITY
 4   delegated authority to DYER; but offers no explanation how this
 5   is distinguishable from the allegation that DYER had final
 6   policymaking authority for the CITY.        Plaintiff’s complaint
 7   contains no allegations that DYER delegated final decision-making
 8   authority to a subordinate.    Plaintiff’s complaint does not state
 9   this form of a Monell claim.
10
11        Accordingly, because the complaint alleges that blacklisting
12   preferential promotion was an official policy and custom of the
13   City and that Plaintiff was placed on administrative leave by an
14   official with final policy-making authority, Plaintiff has
15   alleged a Monell claim sufficient to survive this motion to
16   dismiss.    Defendants’ motion to dismiss Plaintiff’s Monell claim
17   against the CITY is DENIED.
18
19        B.     Whether Plaintiff States a Claim under Cal. Labor Code
                 § 1102.5.
20
          Plaintiff’s retaliation claim under Cal. Labor Code § 1102.5
21
     was dismissed for lack of jurisdiction on the basis that
22
     Plaintiff failed to allege that he exhausted available
23
     administrative remedies, included but not limited to filing a
24
     complaint with the Labor Commissioner.        (Doc. 35, July 2005 Order
25
     33-35)    Plaintiff’s Third Amended Complaint contains a claim
26
     under Cal. Labor Code § 1102.5.    Defendants argue that their
27
     motion to dismiss Plaintiff’s § 1102.5 claim was granted without
28
     leave to amend, and that Plaintiff brings this claim again in

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 1   violation of a previous court order.
 2         Plaintiff argues that the court’s order was ambiguous as to
 3   whether leave to amend was allowed.     Defendants are correct in
 4   that the July 2005 Order did not grant Plaintiff leave to amend.
 5   Nevertheless, Plaintiff’s opposition will be construed as a
 6   request for leave to amend this claim.
 7         Plaintiff argues in his opposition that “this Court
 8   misapplied the ruling in Campbell v. Regents of the Univ. of
 9   Cal., 35 Cal. 4th 311 (2005).    Plaintiff misinterprets the
10   court’s previous holding.     The July 2005 Order stated “Plaintiff
11   does not allege that he exhausted available administrative
12   remedies, including bringing a complaint before the Labor
13   Commissioner, before bringing suit.”        (Doc. 35, July 2005 Order
14   35)   Campbell held, among other things, that despite § 1102.5's
15   silence on the issue whether a claimant must exhaust
16   administrative remedies before filing suit, California’s
17   administrative exhaustion requirement nevertheless applies.             35
18   Cal. 4th at 329-30.   Plaintiff’s Second Amended Complaint did not
19   allege that he exhausted any administrative remedies as to
20   § 1102.5, including filing a claim with the Labor Commissioner,
21   which is a remedy that is expressly available under Cal. Labor
22   Code § 98.7.2   (See Doc. 23, Second Am. Compl. ¶¶ 55-58)
23
24         2
            Plaintiff’s argument that there is no procedure in place
     in the Labor Commissioner’s office to file such claims is
25   irrelevant. The phone call placed by Plaintiff’s counsel to the
26   Labor Commissioner’s office is not properly judicially noticeable
     under Federal Rule of Evidence 201. Whether a phone call took
27   place and the substance of the phone call consists of the
     personal knowledge of counsel. Such evidence is not “generally
28   known within the territorial jurisdiction” of this court, and is
     also not “capable of accurate and ready determination by resort

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 1        Plaintiff’s Third Amended Complaint does contain an
 2   allegation that he exhausted all available administrative
 3   remedies.    While Plaintiff does not allege he filed a claim with
 4   the Labor Commissioner, he does allege he filed a tort claim
 5   pursuant to Cal. Govt. Code §§ 910, et seq.        Furthermore, he
 6   alleges that the CITY has no internal administrative remedies
 7   available that cover claims for retaliation under § 1102.5 and
 8   that filing a government tort claim did exhaust all available
 9   administrative remedies.      (Doc. 37, Third Am. Compl. ¶ 58)
10        While Defendant is technically correct that Plaintiff was
11   not granted leave to amend its § 1102.5 claim to allege
12   compliance with the exhaustion requirement, a policy underlying
13   federal civil procedure is that, absence prejudice to the
14   Defendant, leave to amend should be freely granted.           Fed. R. Civ.
15   P. 15(a) (“leave to amend shall be freely given when justice so
16   requires”); see also Eminence Capital, LLC v. Aspeon, Inc., 316
17   F.3d 1048, 1051-52 (9th Cir. 2003).      Leave to amend is therefore
18   GRANTED.     However, because there is no independent reason for
19   Plaintiff to file yet another amended complaint, the § 1102.5
20   claim will stand as currently pled in the Third Amended
21   Complaint.
22        Whether Plaintiff’s allegation that there were no adequate
23   administrative remedies for § 1102.5 claims (including but not
24   limited to the practical unavailability of filing a claim with
25   the Labor Commissioner) is a question of fact for the fact-
26   finder.    At the pleading stage, Plaintiff’s allegation that there
27
28   to sources whose accuracy cannot be reasonably questioned,”
     either of which are required by FRE 201.

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 1   were no adequate internal administrative remedies and that he
 2   exhausted the only available administrative remedy (i.e., the
 3   filing of a government tort claim), is sufficient to survive a
 4   motion to dismiss.   Defendants’ motion to dismiss Plaintiffs’
 5   § 1102.5 claim is DENIED.
 6
 7        C.   Whether Plaintiff States a Claim Under Cal. Govt. Code
               § 53298.
 8
          Defendants argue that Plaintiff fails to state a claim
 9
     against GARNER, FIFIELD, and WEST under Cal. Govt. Code § 53298.
10
     Plaintiff does not address this argument in his opposition.           At
11
     oral argument, Plaintiff’s counsel acknowledged this claim should
12
     be dismissed.   Cal. Gov. Code § 53298(a) establishes liability
13
     for any local agency officer, manager, or supervisor who
14
     retaliates against any employee for filing a complaint with the
15
     local agency reporting “gross mismanagement, a significant waste
16
     of funds, an abuse of authority, or a specific and substantial
17
     danger to public health or safety.”     Cal. Gov. Code §§ 53298(a),
18
     53296(c); see also LeVine, 90 Cal. App. 4th at 212 (discussing
19
     § 53298 in dicta).   The written complaints that are the basis of
20
     Plaintiff’s § 53298 claim are (1) written report(s) of sexual
21
     molestation by a former police officer; and (2) written report(s)
22
     of racial harassment.   (Doc. 37, Third Am. Compl. ¶ 60)         The only
23
     act of retaliation alleged in Plaintiff’s § 53298 claim is
24
     placing Plaintiff on administrative leave.       (See id.)     Defendants
25
     argue that Plaintiffs’ § 53298 claim should be dismissed as to
26
     WEST, FIFIELD, and GARNER, since they are only alleged to have
27
     played a role in the failure to promote Plaintiff and are not
28
     alleged to have had a role in placing Plaintiff on administrative

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 1   leave.    Plaintiff does not dispute this argument.            Defendants’
 2   motion to dismiss Plaintiff’s § 1102.5 claim as to WEST, FIFIELD,
 3   and GARNER is GRANTED.
 4
 5        D.     Motion for a More Definite Statement Pursuant to Fed.
 6               R. Civ. P. 12(e).
 7        A motion for a more definite statement pursuant to Fed. R.
 8   Civ. P. 12(e) attacks the unintelligibility of the complaint, not
 9   simply the mere lack of detail, and is only proper when a party
10   is unable to determine how to frame a response to the issues
11   raised by the complaint.      A court will deny the motion where the
12   complaint is specific enough to apprise the defendant of the
13   substance of the claim being asserted.        Bureerong v. Uvawas,
14   922 F. Supp. 1450, 1461 (C.D. Cal. 1996); see also Famolare, Inc.
15   v. Edison Bros. Stores, Inc., 525 F. Supp. 940, 949 (E.D. Cal.
16   1981) (finding a Rule 12(e) motion proper “only where the
17   complaint is so indefinite that the defendant cannot ascertain
18   the nature of the claim being asserted”).        A motion for a more
19   definite statement is proper only where the complaint is “so
20   vague or ambiguous that the opposing party cannot respond, even
21   with a simple denial, in good faith or without prejudice to
22   himself.”    Cellars v. Pacific Coast Packaging, Inc., 189 F.R.D.
23   575, 578 (N.D. Cal. 1999) (internal quotations and citation
24   omitted); see also Sagan v. Apple Computer Inc., 874 F. Supp.
25   1072, 1077 (C.D. Cal. 1994) (citing Van Dyke Ford, Inc. v. Ford,
26   399 F. Supp. 277, 284 (E.D. Wis. 1975)) (“A Rule 12(e) motion is
27   more likely to be granted where the complaint is so general that
28   ambiguity arises in determining the nature of the claim or the


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 1   parties against whom it is being made.”); Boxall v. Sequoia Union
 2   High Sch. Dist., 464 F. Supp. 1104, 1114 (N.D. Cal. 1979)
 3   (finding a motion for a more definite statement should not be
 4   granted unless the defendant literally cannot frame a responsive
 5   pleading).   A Rule 12(e) motion “is likely to be denied where the
 6   substance of the claim has been alleged, even though some of the
 7   details are omitted.”   Sagan, 874 F. Supp. at 1077 (citing
 8   Boxall, 464 F. Supp. at 1113-14).
 9        This liberal standard of pleading is consistent with Fed. R.
10   Civ. P. 8(a)(2) which allows pleadings that contain a “short and
11   plain statement of the claim.”    Both rules assume that the
12   parties will familiarize themselves with the claims and ultimate
13   facts through the discovery process.        See Sagan, 874 F. Supp. at
14   1077 (“Motions for a more definite statement are viewed with
15   disfavor and are rarely granted because of the minimal pleading
16   requirements of the Federal Rules.”).       If the detail sought by a
17   motion for a more definite statement is obtainable through
18   discovery, the motion should be denied.        See McHenry v. Renne, 84
19   F.3d 1172, 1176 (9th Cir. 1996) (granting 12(e) motion where
20   complaint “does not provide defendants with a fair opportunity to
21   frame a responsive pleading”); see also Sagan, 874 F. Supp. at
22   1077 (“Parties are expected to use discovery, not the pleadings,
23   to learn the specifics of the claims being asserted.”); Beery v.
24   Hitachi Home Elec. (Amer.), Inc., 157 F.R.D. 477, 480 (C.D. Cal.
25   1993) (finding motion for a more definite statement should be
26   denied if the detail sought is obtainable through discovery);
27   Federal Savings and Loan Ins. Corp. v. Musacchio, 695 F. Supp.
28   1053, 1060 (N.D. Cal. 1988) (finding that if plaintiff’s


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 1   complaint meets the notice requirements of Fed. R. Civ. P. 8, and
 2   defendants are provided with a sufficient basis to respond, the
 3   proper avenue for eliciting additional detail is through
 4   discovery); Famolare, Inc. v. Edison Brothers Stores, Inc.,
 5   525 F. Supp. 940, 949 (E.D. Cal. 1981) (“A motion for a more
 6   definite statement should not be granted unless the defendant
 7   cannot frame a responsive pleading.”); CMAX, Inc. v. Hall,
 8   290 F.2d 736, 738 (9th Cir. 1961).
 9        Here, the complaint, although somewhat unclear, provides
10   enough detail for Defendants to frame a response and for this
11   case to proceed.   Defendants’ motion for a more definite
12   statement is DENIED.
13
14        E.   Defendants’ Rule 12(f) Motion to Strike.
15        Fed. R. Civ. P. 12(f) provides that “redundant, immaterial,
16   impertinent, or scandalous matters” may be “stricken from any
17   pleading.”   Fed. R. Civ. P. 12(f).   “[M]otions to strike should
18   not be granted unless it is clear that the matter to be stricken
19   could have no possible bearing on the subject matter of the
20   litigation.”   Colaprico v. Sun Microsystems, Inc., 758 F. Supp.
21   1335, 1339 (N.D. Cal. 1991) (citation omitted).        Defendants argue
22   that several allegations should be stricken from the Third
23   Amended Complaint.
24        First, Defendants’ motion to strike the allegations in
25   paragraph 44 that the statute of limitations is tolled based upon
26   the continuing violations doctrine is GRANTED.        Plaintiff’s
27   argument based on the tolling of the statute of limitations based
28   on the continuing violations doctrine was rejected.          (Doc. 35,


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 1   July 2005 Order 21-25)
 2         Second, Defendants’ motion to strike the allegation in
 3   paragraph 54 (18:11) that Defendants violated Plaintiff’s
 4   Fourteenth Amendment rights is GRANTED.          Any claim based upon an
 5   alleged violation of Plaintiff’s Fourteenth Amendment rights has
 6   been dismissed.    (Id. at 32-33)
 7         Third, Defendants’ motion to strike Plaintiff’s § 1102.5
 8   claim in paragraphs 55-58 is MOOT, as Defendants’ motion to
 9   dismiss Plaintiff’s § 1102.5 claim is denied.
10
11                               VI.     CONCLUSION
12         For all the foregoing reasons Defendants’:
13   (1)   motion to dismiss Plaintiff’s 42 U.S.C. § 1983 claim against
14         the CITY is DENIED;
15   (2)   motion to dismiss Plaintiff’s Cal. Labor Code § 1102.5 claim
16         is DENIED;
17   (3)   motion to dismiss Plaintiff’s Cal. Govt. Code § 53298 claim
18         as to WEST, FIFIELD, and GARNER is GRANTED;
19   (4)   Rule 12(e) motion for a more definite statement is DENIED;
20   (5)   Rule 12(f) motion to strike is GRANTED as to the allegations
21         in paragraphs 44 and 54 (18:11), and is DENIED as to all
22         other allegations.
23
24
25   SO ORDERED.
26   October 17, 2005
27                                                /s/ Oliver W. Wanger
                                               ______________________________
28                                                    Oliver W. Wanger
                                               UNITED STATES DISTRICT JUDGE

                                          19
